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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                     No. 1:21-cr-158 (RC)

 KYLE FITZSIMONS

                           GOVERNMENT’S EXHIBIT LIST




Government’s Exhibit List—Page 1
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     100 SERIES—PHYSICAL EVIDENCE & SEARCH WARRANT MATERIALS


Ex. No.              Description of Exhibit             Offered   Admitted / Witness


  100      White Butcher’s Coat with “Kyle” lettering


  101      Rubber Boots


  102      Black Jacket


  103      Black Apron


  104      Wooden bow


  105      Box of Pelts


  106      Samsung Galaxy A21


  107      Pictures from Search of 35 Gully Oven
           Road—Residence


  108      Pictures from Search of 35 Gully Oven
           Road—Truck


                      200 SERIES—PHOTO & VIDEO EVIDENCE


Ex. No.              Description of Exhibit             Offered   Admitted / Witness


  200      USCP compilation video (22 min.)


 200A      Stills from USCP compilation video




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  201     Timelapse of CCTV 0944


  202     Video from CCTV 0944


 202A     Stills from CCTV 0944


  203     Timelapse of CCTV 0074


  204     Video from CCTV 0074


 204A     Stills from CCTV 0074


  205     BWC from MPD Officer M.A.
          X6039BF8H
          2021-01-06 16:09 to 16:12


 205A     Stills from M.A.’s BWC X6039BF8H


  206     BWC from MPD Officer S.B.
          X6039BCAU
          2021-01-06 16:06 to 16:09


 206A     Stills from S.B.’s BWC X6039BCAU


  207     BWC from MPD Officer M.D.
          X6039BK5E
          2021-01-06 16:09 to 16:09


 207A     Stills from M.D.’s BWC


  208     BWC from MPD Officer J.M.
          X6039BFSE
          2021-01-06 16:10 to 16:13


 208A     Stills form J.M’s BWC X6039BFSE


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  209     BWC from MPD Officer C.W.
          X6039BEWQ
          2021-01-06 16:09 to 16:12


 209A     Stills from C.W.’s BWC X6039BEWQ


  210     BWC from MPD Officer C.B.
          X6039BKNU
          2021-01-06 16:10 to 16:13


 210A     Stills from C.B.’s BWC X6039BKNU


  211     BWC from MPD Officer H.F.
          X6039BJJA
          2021-01-06 16:10 to 16:13


 211A     Stills from H.F.’s BWC X6039BJJA


  212     BWC from MPD Officer A.G.
          X6039BB1A
          2021-01-06 16:10 to 16:12


 212A     Stills from A.G.’s BWC X6039BB1A


  213     BWC from MPD Officer J.C.
          X6039BJFT


 213A     Stills from J.C.’s BWC X6039BJFT


  214     BWC from MPD Officer D.P.
          X6039BKEB
          2021-01-06 16:11 to 16:12


 214A     Stills from D.P.’s BWC X6039BKEB




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  215     BWC from MPD Officer B.P.
          X6039BFMU
          2021-01-06 16:11 to 16:12


 215A     Stills from B.P.’s BWC X6039BFMU


  216     YouTube video
          https://www.youtube.com/watch?v=oyVoq
          MsC0AM
          Clip time 8:50 to 24:24


 216A     Stills from YouTube video
          https://www.youtube.com/watch?v=oyVoq
          MsC0AM


  217     YouTube video
          https://www.youtube.com/watch?v=cRCE
          MN-lq_o
          Clip time 13:34 to 13:47


 217A     Stills from YouTube video
          https://www.youtube.com/watch?v=cRCE
          MN-lq_o


  218     hRVW9zpRAAxO_cvt.mp4


 218A     Stills from hRVW9zpRAAxO_cvt.mp4


  219     LQKqUqbhU50v_cvt.mp4


 219A     Stills from LQKqUqbhU50v_cvt.mp4


  220     U0x7kbofMuDi_cvt.mp4


 220A     Stills from U0x7kbofMuDi_cvt.mp4



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  221      4T27m6Ij4YA9_cvt.mp4


 221A      Stills from 4T27m6Ij4YA9_cvt.mp4


  222      Town of Lebanon BOS Meeting,
           01/07/2021
           https://www.youtube.com/watch?v=Udfi4a
           NdZlg


  223      Collection of Open Source Photos


             300 SERIES—EVIDENCE RECOVERED FROM CELLPHONE


Ex. No.              Description of Exhibit         Offered    Admitted / Witness


  300      Cellebrite Summary


  301      Photo of Save America March


  302      Photo of Save America March


  303      Photo of Barriers


  304      Photo of Crowd and Washington
           Monument


  305      Photo Near Scaffolding


  306      Selfie Near Scaffolding


  307      Photo of Crowd from Above


  308      Photo of Head Staples



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  309      Photo of Bloody Butcher’s Coat with
           “Kyle” Lettering and Fur Pelt


  310      Screenshot of Airbnb Reservation


  311      Screenshot of Airbnb Receipt


  312      Text message from Justine Fitzsimons


          400 SERIES—U.S. SECRET SERVICE & INTERSTATE COMMERCE


Ex. No.              Description of Exhibit            Offered   Admitted / Witness


  400      Secret Service Head of State Notification
           Worksheet


  401      RESERVED


  402      Mayor Bowser Curfew Order (Mayor’s
           Order 2021-002)


  403      Safeway Early Closure Notice for
           Washington, DC stores 1/6/2021


  404      Safeway Mid-Atlantic Daily Sales Report
           (Redacted) 1/5/2021 – 1/7/2021


  405      Safeway Warehouse Shipments Lancaster
           PA to Washington, DC stores 1/3/2021 –
           1/9/2021




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               500 SERIES—LEGAL AND CONGRESSIONAL RECORDS


Ex. No.              Description of Exhibit             Offered   Admitted / Witness


  500      U.S. Constitution—12th Amendment
           (Highlighted)


  501      Title 3, United States Code,
           Sections 15 to 18


  502      Senate Concurrent Resolution 1


  503      Video Montage—including Congressional
           Record and video footage from House and
           Senate


 503A      Source References for Video Montage


  504      Screenshots from House Chamber Video


                                    600 SERIES—OTHER


Ex. No.              Description of Exhibit             Offered   Admitted / Witness


  600      Aerial Photo of U.S. Capitol Building


  601      Aerial Photo of U.S. Capitol Building with
           Perimeter Diagram


  602      Photo of U.S. Capitol with signs on metal
           barriers


  603      Photo of Area Closed sign on metal barrier




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  604     Photo of Area Closed sign


  605     Diagram of Capitol


  606     3D Model of Capitol (digital)


  607     RESERVED


  608     A.G.’s Medical Records


  609     P.N.’s Medical Records


  610     Voicemail to Congressman Jared Golden,
          U.S. Representative, Maine 2nd District


  611     RESERVED


  612     Facebook Message


  613     Jail Call #1


  614     Jail Call #2


  615     Jail Call #3


  616     Rochester Voice Article
          https://www.therochestervoice.com/west-
          lebanon-man-recounts-the-hope-then-
          terror-he-encountered-on-jan-6-cms-15693




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                              700 SERIES—STIPULATIONS


Ex. No.              Description of Exhibit        Offered      Admitted / Witness


  700      Stipulations




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